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                    IN THE UNITED STATES DISTRICT COURT                                           IS
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                          CLERK, U.S. DISTRICT COURT
                                  Richmond Division                             RICHMOND, VA

UNITED STATES OF AMERICA,

V.                                               Criminal Action No. 3:97CR344


MICHAEL ANGELO LOISEAU,

      Petitioner,


                                  MEMORANDUM OPINION


      Michael Angelo Loiseau, a federal prisoner proceeding pro

se, filed a motion under 28 U.S.C. § 2255 to vacate, set aside,

or correct his sentence ("§ 2255 Motion," ECF No. 100, 100-1).

By Memorandum Opinion and Order entered on May 8, 2018, the

Court denied Loiseau's § 2255 Motion                     because it was barred by

the applicable one-year statute of limitations.                         United States

V. Loiseau, No. 3:97CR344, 2018 WL 2124092, at *1-3 (E.D. Va.

May 8, 2018).       On May 31, 2018, Loiseau filed a PRO SE MOTION TO

ALTER OR AMEND JUDGMENT PURSUANT TO Fed. R. Civ. P. 59(e) ("Rule

59(e) Motion," ECF No. 109).

      "[R]econsideration           of   a     judgment    after   its    entry is        an

extraordinary remedy which should be used sparingly."                         Pac. Ins.

Co.   V.    Am.   Nat'l    Fire    Ins.      Co., 148    F.3d   396,    403 (4th     Cir.

1998)      (citation      omitted)      (internal    quotation        marks   omitted).

The   United      States     Court      of    Appeals    for    the    Fourth    Circuit

recognizes three grounds for relief under Rule 59(e):                           "(1) to

accommodate       an intervening change in controlling law; (2) to
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account    for    new   evidence       not       available    at     trial;   or     (3)   to

correct    a    clear   error    of law       or    prevent manifest injustice."

Hutchinson       v.   Staton^    994     F.2d      1076,      1081    (4th    Cir.    1993)

(citing Weyerhaeuser Corp. v. Koppers Co., 771 F. Supp. 1406,

1419    (D.    Md.    1991);    Atkins       v.    Marathon     LeTourneau      Co.,       130

F.R.D. 625, 626 (S.D. Miss. 1990)).

       Loiseau argues that the               Court should alter or             amend the

judgment "in order to correct manifest errors of law and fact."

(Rule 59(e) Mot. 1.)            Loiseau also indicates that he "addresses

some, but not all, of the grounds in his original petition."

(Id.)     To the extent that Loiseau reargues the claims from his

§ 2255 Motion, he fails to demonstrate any entitlement to relief

under Rule 59(e) because the Court dismissed his § 2255 Motion

as barred by the statute of limitations.

       Loiseau includes a section that purportedly addresses the

Court's       conclusion   that    his       §    2255   is    untimely.       Loiseau's

arguments make little sense, but seem to take issue with the

fact that he is unable to obtain relief at this juncture under

§ 2255.       Loiseau contends that

        the revocation of supervised release are collateral to
        the conviction and sentence.  Therefore, § 2255(f)(1)
        cannot be used to bar a merits determination of
        Loiseau's claims.   The District Court has outright
        attempted     to draw Loiseau into a trap by granting him
        a right       to file a § 2255 motion only to raise
        statutory      bar against him where in fact Loiseau had
        properly      challenged the execution of his five-year
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      sentence      in    the   initial    [28    U.S.C.]   §     2241    habeas
      corpus petition,

(Rule 59(e) Mot. 4 (punctuation and spelling corrected),)                            The

Court certainly did not "trap" Loiseau,                Rather, as explained in

the May 8, 2018 Memorandum Order, the Court previously informed

Loiseau that § 2241 was not the appropriate mechanism to present

his challenges to the revocation of supervised release and the

resulting     forty-six-month        sentence.        See        Loiseau,     2018    WL

2124092, at *1, *3 (E,D, Va, May 8, 2018),                       Simply because the

Court informed Loiseau that he could pursue a § 2255 motion, did

not   mean   that    it    would   not     be    subject    to    the    restrictions

inherent in that statute,           Loiseau fails to demonstrate that the

dismissal of his action rested upon a clear error of law or that

vacating     that    dismissal     is     necessary   to    prevent       a   manifest

injustice,     Loiseau's § 2255 Motion, filed more than four years

late, is barred by the statute of limitations.                           Accordingly,

Loiseau's Rule 59(e) Motion (ECF No, 109) will be denied,                              A

certificate of appealability will be denied.

      The Clerk is directed to send a                 copy of this Memorandum

Opinion to Loiseau and counsel of record.

      It is so ORDERED,




                                                            /s/
                                        •Robert E, Payne
Date:                                    Senior United States District Judge
Richmond, Virginia
